                            In the Matter Of:

           KULAKOWSKI vs WESTROCK SERVICES




                             JAMES HALL

                           November 15, 2017




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KULAKOWSKI vs WESTROCK SERVICES




 · · · · ·IN THE UNITED STATES DISTRICT COURT
 · · · · FOR THE MIDDLE DISTRICT OF TENNESSEE
 · · · · · · · · ·NASHVILLE DIVISION




 MICHAEL KULAKOWSKI,· · · · · · · · )
 · · · · · · · · · · · · · · · · · ·)
 · · ·Plaintiff,· · · · · · · · · · )
 · · · · · · · · · · · · · · · · · ·)
 vs.· · · · · · · · · · · · · · · · )CASE NO.
 · · · · · · · · · · · · · · · · · ·)3:16-CV-02510
 · · · · · · · · · · · · · · · · · ·)
 WESTROCK SERVICES, INC.,· · · · · ·)
 · · · · · · · · · · · · · · · · · ·)
 · · ·Defendant.· · · · · · · · · · )
 _________________________________




 · · · · · · · · · · DEPOSITION OF

 · · · · · · · · · JAMES KEITH HALL

 · · · · · Taken on Behalf of the Plaintiff

 · · · · · · · · · November 15, 2017

 · · · · · · · ·Commencing at 9:35 a.m.




 __________________________________________________



 Reported by:· Jerri L. Porter, RPR, CRR
 Tennessee LCR No. 335
 Expires:· 6/30/2018



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·1·   APPEARANCES:                                                    ·1· · · · · · · ·The deposition of JAMES KEITH HALL was
·2·   For the Plaintiff:                                              ·2· taken on behalf of the Plaintiff on November 15,
·3·   · · · · ·HEATHER MOORE COLLINS
                                                                      ·3· 2017, in the offices of Bone, McAllester & Norton,
· ·   · · · · ·Collins & Hunter
·4·   · · · · ·7000 Executive Center Drive                            ·4· 131 Saundersville Road, Suite 130, Hendersonville,
· ·   · · · · ·Building 2, Suite 320                                  ·5· Tennessee, for all purposes under the Federal Rules
·5·   · · · · ·Brentwood, Tennessee· 37027
                                                                      ·6· of Civil Procedure.
· ·   · · · · ·(615) 724-1996
·6·   · · · · ·heather@collinshunter.com                              ·7· · · · · · · ·The formalities as to notice, caption,
·7                                                                    ·8· certificate, et cetera, are waived.· All objections,
· ·   For the Defendant:
                                                                      ·9· except as to the form of the questions, are reserved
·8
· ·   ·   ·   ·   ·   ·MARY DOHNER SMITH                              10· to the hearing.
·9·   ·   ·   ·   ·   ·Constangy, Brooks, Smith & Prophete            11· · · · · · · ·It is agreed that Jerri L. Porter,
· ·   ·   ·   ·   ·   ·1010 SunTrust Plaza
                                                                      12· being a Notary Public and Court Reporter for the
10·   ·   ·   ·   ·   ·401 Commerce Street
· ·   ·   ·   ·   ·   ·Nashville, Tennessee· 37219                    13· State of Tennessee, may swear the witness, and that
11·   ·   ·   ·   ·   ·(615) 320-5200                                 14· the reading and signing of the completed deposition
· ·   ·   ·   ·   ·   ·mdohner@constangy.com
                                                                      15· by the witness are reserved.
12
13                                                                    16
14                                                                    17
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17                                                                    19
18                                                                    20
19                                                                    21· · · · · · · · · · · · · * * *
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25

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·1· · · · · · · · · · · · I N D E X                                   ·1·   · · · · · · · · · JAMES KEITH HALL
·2· · · · · · · · · INDEX OF EXAMINATIONS
                                                                      ·2·   was called as a witness, and after having been first
·3· · · · · · · · · · · · · · · · · · · · · · · · · Page
·4· Examination By Ms. Collins ........................5
                                                                      ·3·   duly sworn, testified as follows:
·5· Examination By Ms. Dohner Smith ..................47              ·4·   · · · · · · · · E X A M I N A T I O N
·6                                                                    ·5·   BY MS. COLLINS:
·7                                                                    ·6·   Q· · · ·Good morning.· Could you state your complete
·8· · · · · · · · · · ·MARKED EXHIBITS
                                                                      ·7·   name for the record, please.
·9
· · Exhibit· · · · Description· · · · · · · · · · · Page
                                                                      ·8·   A· · · ·James Keith Hall.
10                                                                    ·9·   Q· · · ·Mr. Hall, do you go by Keith?
· · No. 14· ·8/29/16 Henley e-mail to McGraw .........43              10·   A· · · ·Yes.
11· · · · · ·Subject: 2133-Interview                                  11·   Q· · · ·What is your address?
· · · · · · ·Questions-8.26.16;
                                                                      12·   A· · · ·479 Green Grove Road, Westmoreland,
12· · · · · ·8/29/16 Henley e-mail to McGraw
· · · · · · ·Subject: Interview with Tracie
                                                                      13·   Tennessee.
13· · · · · ·August 29, 2016                                          14·   Q· · · ·What is your phone number?
· · · · · · ·Bates WestRock 000240-0241                               15·   A· · · ·Area code (615)388-1617.
14                                                                    16·   · · · · · · ·MS. DOHNER SMITH:· He's a fast talker.
15
                                                                      17·   BY MS. COLLINS:
16
17
                                                                      18·   Q· · · ·Where do you work, Mr. Hall?
18                                                                    19·   A· · · ·I've never been in a room with this many
19                                                                    20·   lawyers.· I have never been in court for anything.
20                                                                    21·   Q· · · ·That's fine.· Where do you work right now?
21
                                                                      22·   A· · · ·WestRock.
22
23
                                                                      23·   Q· · · ·Are you at the Gallatin plant?
24                                                                    24·   A· · · ·Yes.
25                                                                    25·   Q· · · ·At the fulfillment center?


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·1·   A· · · ·Both.                                           ·1·   service manager, was your office over at the main
·2·   Q· · · ·Okay.· How long have you been working for       ·2·   plant?
·3·   WestRock?                                               ·3·   A· · · ·Yeah.
·4·   A· · · ·Thirty-three years and five months.             ·4·   Q· · · ·Is that the right lingo, the main plant?
·5·   Q· · · ·What is your current job title?                 ·5·   A· · · ·Sheet plant, what we call the sheet plant.
·6·   A· · · ·Plant manager.                                  ·6·   Q· · · ·Sheet plant?· Okay.· I knew it had been
·7·   Q· · · ·How long have you been plant manager?           ·7·   called something.· So if I accidentally say main
·8·   A· · · ·Since February.                                 ·8·   plant, I'm referring to the sheet plant in Gallatin.
·9·   Q· · · ·February 2017?                                  ·9·   A· · · ·Yes, I understand.
10·   A· · · ·'17.                                            10·   Q· · · ·Who hired you as plant manager?
11·   Q· · · ·Okay.· Sometimes I forget what year we're       11·   A· · · ·Tom Pedine.
12·   in.                                                     12·   Q· · · ·Who was plant manager before you?
13·   · · · · What was your job title before you were         13·   A· · · ·Larry Eden.
14·   plant manager?                                          14·   Q· · · ·And I understand Mr. Eden still works out
15·   A· · · ·Customer service manager.                       15·   there, right?
16·   Q· · · ·How long were you customer service manager?     16·   A· · · ·Yes, ma'am.
17·   A· · · ·A year and six months, somewhere close.         17·   Q· · · ·Do you know why he's no longer plant
18·   Q· · · ·So, since mid 2016?                             18·   manager?
19·   A· · · ·It was September 2015 is when it was. I         19·   A· · · ·Performance.
20·   know when Pam passed -- when Pam Blair, our customer    20·   Q· · · ·Did you play any part in that job decision,
21·   service manager passed away, I took over that job.      21·   to move him down from plant manager?
22·   Q· · · ·As customer service manager, which facility     22·   A· · · ·No, ma'am.
23·   did you work at?                                        23·   Q· · · ·Do you know what about his performance
24·   A· · · ·Both.                                           24·   played a part in that?
25·   Q· · · ·Okay.· How much time did you spend in that      25·   A· · · ·The performance of the plant, it was
                                                     Page 7                                                        Page 9
·1·   role at the fulfillment center?                         ·1·   underperforming, the numbers were down, employee
·2·   A· · · ·Percent-wise, probably 15.                      ·2·   satisfaction was down.
·3·   Q· · · ·Why would you go to the fulfillment center?     ·3·   Q· · · ·Did you have to interview for your job as
·4·   A· · · ·To oversee projects.                            ·4·   plant manager?
·5·   Q· · · ·And after you became -- after you were          ·5·   A· · · ·No.
·6·   customer service manager -- well, you were customer     ·6·   Q· · · ·Did Mr. Pedine just come and tell you you're
·7·   service manager from September 2015 to                  ·7·   going to be promoted to plant manager?
·8·   February 2017, right?                                   ·8·   A· · · ·We had probably an hour-long discussion
·9·   A· · · ·Yes.                                            ·9·   about it.
10·   Q· · · ·Okay.· Before you were customer service         10·   Q· · · ·When you were customer service manager from
11·   manager, what was your job title?                       11·   September '15 to February 2017, other than Mr. Eden,
12·   A· · · ·Quality manager.                                12·   who was the plant manager?
13·   Q· · · ·And which facility did you work at when you     13·   A· · · ·Nobody.
14·   were quality manager?                                   14·   Q· · · ·When did Mr. Eden become plant manager?
15·   A· · · ·Both.                                           15·   A· · · ·Early 2000s.
16·   Q· · · ·How long were you in that role?                 16·   Q· · · ·Oh, okay.· Who was the general manager?
17·   A· · · ·Approximately two years.                        17·   A· · · ·Tommy Whited.· William Whited.
18·   Q· · · ·And what percentage of your time did you        18·   Q· · · ·And who became the general manager after
19·   spend over at the fulfillment center?                   19·   him?
20·   A· · · ·Quality manager was probably 40 percent.        20·   A· · · ·Allie Hasbrouck.
21·   Q· · · ·So a little bit more time --                    21·   Q· · · ·Allie?
22·   A· · · ·Yes.                                            22·   A· · · ·Allie Hasbrouck.
23·   Q· · · ·-- over there?                                  23·   Q· · · ·Could you spell that, if you know?
24·   A· · · ·My office was actually located there.           24·   A· · · ·Maybe.
25·   Q· · · ·Okay.· And now, when you were customer          25·   Q· · · ·I know it's hard to spell without a piece of


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·1·   paper.                                                  ·1·   Q· · · ·Then under that it was plant manager,
·2·   A· · · ·H-a-s-b-r-o-c-h [sic].                          ·2·   Mr. Eden?
·3·   Q· · · ·And the first name?                             ·3·   A· · · ·Larry.
·4·   A· · · ·Allie, A-l-l-i-e.                               ·4·   Q· · · ·And then under Larry Eden, it was you as
·5·   Q· · · ·Is that a man or a woman?                       ·5·   customer service manager, or were there other
·6·   A· · · ·Man.                                            ·6·   managers on the same level as you?
·7·   Q· · · ·Did he become the general manager after         ·7·   A· · · ·The way you look at the org chart, I was the
·8·   Mr. Whited left?                                        ·8·   same level as Larry.
·9·   A· · · ·February of 2017.                               ·9·   Q· · · ·Okay.
10·   Q· · · ·Who was the interim general manager?            10·   A· · · ·Just over customer service.· Larry had some
11·   A· · · ·Eric Underwood.                                 11·   direct reports, Michael White, Gary Pagels.
12·   Q· · · ·Where did Mr. Underwood work?                   12·   Q· · · ·Michael White and who?
13·   A· · · ·Humboldt, Tennessee.                            13·   A· · · ·Gary Pagels, P-a-g-e-l-s.
14·   Q· · · ·Okay.· So he came in just to --                 14·   Q· · · ·Okay.· Are both of those gentlemen still
15·   A· · · ·He'd come go over our numbers, come see the     15·   working out there?
16·   plant, see if we had any problems or anything we        16·   A· · · ·Yes.
17·   needed him for.· Other than that, it was phone          17·   Q· · · ·Now, when you -- are you familiar with
18·   calls.                                                  18·   WestRock's policies?
19·   Q· · · ·Okay.· Now, when you were customer service      19·   A· · · ·Yes.
20·   manager from 2015 to 2017, where did that sort of       20·   Q· · · ·Okay.· Are most of their policies contained
21·   fall in the hierarchy of management?                    21·   in the company handbook?
22·   A· · · ·I didn't report to the plant manager. I         22·   A· · · ·Yes.
23·   reported to the GM directly.                            23·   Q· · · ·Are there any special policies that you
24·   Q· · · ·So, you did not report to Mr. Eden.· You        24·   would follow as either plant manager or when you
25·   reported directly to Mr. Whited.                        25·   were customer service manager?
                                                    Page 11                                                       Page 13
·1·   A· · · ·Yes.                                            ·1·   A· · · ·Special?· No.
·2·   Q· · · ·Okay.· When you were customer service           ·2·   Q· · · ·Or a separate set of management policies?
·3·   manager, did you have the ability to hire or fire       ·3·   A· · · ·Not that I know that are special.
·4·   employees?                                              ·4·   Q· · · ·Or a separate set?
·5·   A· · · ·Yes.                                            ·5·   A· · · ·No.
·6·   Q· · · ·Which employees did you have the ability to     ·6·   Q· · · ·Okay.· Now, in -- I'm just going to go back
·7·   hire or fire?                                           ·7·   a little bit to 2015 first.· In 2015, did you
·8·   A· · · ·Just customer service.                          ·8·   receive -- in 2015, you were customer service
·9·   Q· · · ·Were most of the customer service employees     ·9·   manager, right?
10·   at the sheet plant?                                     10·   A· · · ·Yes.
11·   A· · · ·There was -- yes.· There's two at               11·   Q· · · ·In 2015, did you receive any sort of annual
12·   fulfillment, four at sheet plant.                       12·   training in sexual harassment or employee policies
13·   Q· · · ·Okay.· Who were the two that were at            13·   like that?
14·   fulfillment?                                            14·   A· · · ·Yes.
15·   A· · · ·Sara Scheffey.· Susan Hart was, and then we     15·   Q· · · ·Tell me about that.
16·   replaced her.· She took another position and we         16·   A· · · ·Every year we review the anti-harassment and
17·   replaced her with Scott Cotton.                         17·   code of conduct policies.
18·   Q· · · ·And could you spell Sara's last name, if you    18·   Q· · · ·Who do you review that with?
19·   can.                                                    19·   A· · · ·Some part of management at the plant or HR.
20·   A· · · ·Maybe.· S-c-h-e-f-f-e-y.                        20·   Depends on the year.
21·   Q· · · ·Okay.· So, I was asking you sort of about       21·   Q· · · ·Who in HR do you recall reviewing those
22·   the hierarchy of management.· As I understand it,       22·   policies with?
23·   when you were customer service manager, it was the      23·   A· · · ·Terri Henley is the latest one.
24·   general manager at the top, which was Mr. Whited?       24·   Q· · · ·Before Ms. Henley, who did you review them
25·   A· · · ·Yes.                                            25·   with?


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·1·   A· · · ·Melinda McGraw came up once.· Other than        ·1·   Q· · · ·Why would they come out?
·2·   that, it was Tommy Whited had done it.                  ·2·   A· · · ·Come out for visits.· They came out for our
·3·   Q· · · ·Did you have to sign any sort of sheet of       ·3·   employee engagement.
·4·   paper saying you attended the training?                 ·4·   Q· · · ·Is the employee engagement that training you
·5·   A· · · ·Yes.                                            ·5·   were talking about?
·6·   Q· · · ·You said Ms. Henley was the most recent.        ·6·   A· · · ·No.
·7·   Was that in 2017?                                       ·7·   Q· · · ·What's the employee engagement?
·8·   A· · · ·Yes, she was here in '17.                       ·8·   A· · · ·It's a survey that all of the employees do.
·9·   Q· · · ·She was there in '17?                           ·9·   Or we request they do.
10·   A· · · ·Yes.                                            10·   Q· · · ·When did y'all start doing that?
11·   Q· · · ·Ms. McGraw, was she there in '15 or '16?        11·   A· · · ·2011, I think.
12·   A· · · ·I don't know which one.· One we done with       12·   Q· · · ·Okay.· And y'all do that every year?
13·   her, one we done with Tommy, and one we done with       13·   A· · · ·Two years.
14·   Terri.· But they're all the same content.               14·   Q· · · ·Every two years?
15·   Q· · · ·Okay.· What would they generally go over?       15·   A· · · ·Uh-huh.
16·   A· · · ·Our, WestRock whole code of conduct,            16·   Q· · · ·What's on that employee engagement survey?
17·   anti-harassment, sexual harassment.                     17·   A· · · ·There's a lot of questions about what you
18·   Q· · · ·Did y'all look at any materials?                18·   think about your direct supervisor, your managers,
19·   A· · · ·Yes.· We have a whole -- HR has put together    19·   the company.· It also has a comment section.
20·   a PowerPoint you have to go over.                       20·   Q· · · ·Who would -- would all the employees do
21·   Q· · · ·Okay.· At that time, would y'all look at the    21·   those?
22·   handbook as well?                                       22·   A· · · ·We ask.· It was all voluntary.· If you
23·   A· · · ·Yes.· Everybody was handed a copy of the        23·   wanted to, you could.· If you didn't want to, you
24·   presentation.                                           24·   didn't have to.· But we've had decent -- there's
25·   Q· · · ·Were they to keep the copy?                     25·   been decent results from it as far as numbers.
                                                    Page 15                                                       Page 17
·1·   A· · · ·Yes.· It was their copy.· There was one page    ·1·   Q· · · ·Who would get that information?
·2·   on the back to sign.                                    ·2·   A· · · ·Who would get the information?
·3·   Q· · · ·Okay.· And was this just for management or      ·3·   Q· · · ·Yes.
·4·   was it for all of the employees?                        ·4·   A· · · ·An independent company.
·5·   A· · · ·No.· It was all.                                ·5·   Q· · · ·Okay.· How were employees supposed to turn
·6·   Q· · · ·All of them?                                    ·6·   that in?
·7·   A· · · ·All employees, yes.                             ·7·   A· · · ·Either online or they had a box that was
·8·   Q· · · ·About how long did the training last?           ·8·   sealed they put it into.
·9·   A· · · ·I'm going to say 45 minutes to an hour.         ·9·   Q· · · ·What would happen after those surveys were
10·   Q· · · ·Did y'all do it on all shifts?                  10·   done?
11·   A· · · ·Yes.                                            11·   A· · · ·Usually took two or three months, and then
12·   Q· · · ·And was that the same in 2015?                  12·   when they came back, you got the -- HR put together
13·   A· · · ·Yes.                                            13·   a presentation with the results on it.· The company
14·   Q· · · ·Did y'all have a local HR person?               14·   supplied it to HR.
15·   A· · · ·Local, no.                                      15·   Q· · · ·Who would get the presentation of results?
16·   Q· · · ·Have you ever had a local HR person?            16·   A· · · ·At our plant, Tommy.
17·   A· · · ·No.                                             17·   Q· · · ·Now, in -- let's just say 2016.· Did you
18·   Q· · · ·How often -- and let's just start in 2015.      18·   see -- well, before the things that happened that
19·   How often would you see an HR person with WestRock?     19·   preceded Mr. Whited's termination, did you see HR
20·   A· · · ·Probably six, ten times.· Nine, ten times a     20·   out at the plant before that in 2016 at the
21·   year.                                                   21·   fulfillment center?
22·   Q· · · ·And that was at the sheet plant?                22·   A· · · ·Yes.
23·   A· · · ·Yeah.· I've actually seen them in both.         23·   Q· · · ·Okay.· What was the context of that?
24·   Q· · · ·Who have you seen?                              24·   A· · · ·I am not sure because I came in over there
25·   A· · · ·Melinda and Terri.                              25·   and Melinda and Terri were there.


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·1·   Q· · · ·Okay.· And you don't know why they were         ·1·   A· · · ·It's the road that leads to Westmoreland --
·2·   there?                                                  ·2·   I mean to Fleetwood manufacturing.· Or used to.
·3·   A· · · ·No.                                             ·3·   Q· · · ·Okay.· I know how to get a lot of places but
·4·   Q· · · ·Do you recall when that was?                    ·4·   don't know the names of a lot of places.
·5·   A· · · ·Not exactly.· I know it was prior to,           ·5·   A· · · ·Well, for me, come from that 911 system, and
·6·   because they were with Tommy.                           ·6·   roads got named.· I've lived there my whole life.
·7·   Q· · · ·Okay.· They were with Mr. Whited?               ·7·   Q· · · ·I get that.· I remember when I was a kid,
·8·   A· · · ·Yes.· They were with Tommy walking through      ·8·   the name of our road changed for that very reason.
·9·   the plant.                                              ·9·   A· · · ·There's actually four roads named after my
10·   Q· · · ·About how many employees would you say are      10·   family.· That was different.
11·   at the fulfillment center?                              11·   Q· · · ·I get it.
12·   A· · · ·Full-time -- we work some temps, but on a       12·   · · · · All right.· Now, did Ms. Kendall perform
13·   normal basis, around 65.· Temps and all.                13·   some of the HR functions out at the plant or refer
14·   Q· · · ·And including the sheet plant, about how        14·   people to HR if they needed it?
15·   many people are out at the sheet plant?                 15·   A· · · ·They would go to her for questions and she
16·   A· · · ·There's around 55 at the sheet plant.           16·   would give them the number to call.
17·   Q· · · ·Is there a full-time HR person at the sheet     17·   Q· · · ·Okay.· Did she handle, like if an employee
18·   plant?                                                  18·   needed to take leave, making sure that got submitted
19·   A· · · ·No.                                             19·   and all that sort of stuff?
20·   Q· · · ·Has there ever been?                            20·   A· · · ·She would help them with the paperwork.· She
21·   A· · · ·No.                                             21·   would get them in contact with HR and she would help
22·   Q· · · ·And do you recall when Helen Kendall worked     22·   either fax the paperwork in for them or give the
23·   out at the sheet plant?                                 23·   correct numbers and that type of stuff.
24·   A· · · ·Yes.                                            24·   Q· · · ·Okay.· Where is HR that does cover the
25·   Q· · · ·What sort of job duties did she handle?         25·   Gallatin plants?
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·1·   A· · · ·Administrative, payroll.                        ·1·   A· · · ·Lewisburg, Tennessee.
·2·   Q· · · ·Anything else you can think of?                 ·2·   Q· · · ·Is there another WestRock facility down in
·3·   A· · · ·I mean, she was -- she helped a lot of our      ·3·   Lewisburg?
·4·   employees if they needed something, but that was her    ·4·   A· · · ·Yes.
·5·   responsibilities.                                       ·5·   Q· · · ·Is that where Ms. Henley is?
·6·   Q· · · ·Okay.· And I understand she retired at some     ·6·   A· · · ·Yes.
·7·   point, right?                                           ·7·   Q· · · ·How long has Ms. Henley been y'all's HR
·8·   A· · · ·Yeah.· December 2016.                           ·8·   representative?
·9·   Q· · · ·Do you know if she's still around?              ·9·   A· · · ·2012 or something.· '12 or '13.· I'm not
10·   A· · · ·Yes.· She lives about six miles from me.        10·   sure.
11·   Q· · · ·Oh, okay.· Do you ever see her anymore?         11·   Q· · · ·So a while?
12·   A· · · ·Actually, we hug every time we see one          12·   A· · · ·Yeah.
13·   another.· About once every two months.                  13·   Q· · · ·Okay.
14·   Q· · · ·Just around town?                               14·   A· · · ·I've been there 33 years, and around the
15·   A· · · ·Yeah, grocery store.· Small town.               15·   plant since 1970.
16·   Q· · · ·I understand.· I grew up in one, too.           16·   Q· · · ·I imagine some of those dates start to run
17·   · · · · Other than just seeing her around town, do      17·   together.
18·   you talk with her on a regular basis or see her like    18·   A· · · ·Yes.
19·   at church or anything like that?                        19·   Q· · · ·Now, have you ever worked around an employee
20·   A· · · ·No.                                             20·   named Michael Kulakowski?
21·   Q· · · ·Okay.· What road does she live on, if you       21·   A· · · ·Yes.
22·   know it?                                                22·   Q· · · ·Okay.· Have you worked around him most of
23·   A· · · ·It's one of the main roads in Westmoreland.     23·   the time he's been employed?
24·   I don't know the name of it.                            24·   A· · · ·No.
25·   Q· · · ·That's okay.                                    25·   Q· · · ·Okay.· When did you start working around


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·1·   him?                                                    ·1·   Q· · · ·When was that?
·2·   A· · · ·I'd say November of '16.                        ·2·   A· · · ·I don't know, five or six years ago.
·3·   Q· · · ·Was that when you became general manager or     ·3·   Q· · · ·So it sounds like you let him know real
·4·   plant manager?                                          ·4·   quick never to do that to you again.
·5·   A· · · ·Well, that's when I -- they unofficially put    ·5·   A· · · ·Yes.
·6·   me over the fulfillment center in November.· I got      ·6·   Q· · · ·And did he pretty much leave you alone after
·7·   the title in February.                                  ·7·   that?
·8·   Q· · · ·Okay.· But before that, were you around him     ·8·   A· · · ·Yes.· He never ever touched me again in any
·9·   as a customer service representative every now and      ·9·   way.
10·   then?                                                   10·   Q· · · ·Okay.· And you mentioned that you saw him do
11·   A· · · ·Every now and then, yes.                        11·   it to Terry Stafford.· Tell me about that.
12·   Q· · · ·When you were customer service                  12·   A· · · ·That was -- do it to Terry and Terry would
13·   representative, did you primarily answer to             13·   just laugh and act like he was trying to get away.
14·   Mr. Whited?                                             14·   Q· · · ·And he was -- Mr. Whited was Terry's boss at
15·   A· · · ·Yes.                                            15·   that time, right?
16·   Q· · · ·And Mr. Whited, when he was general manager,    16·   A· · · ·Yeah.
17·   he was over both facilities, right?                     17·   Q· · · ·And J.R. Sanders, tell me about that one.
18·   A· · · ·Yes.                                            18·   A· · · ·Same situation.· He'd act like he was -- or
19·   Q· · · ·Did he spend most of his time at the            19·   go to slap him in the groin, and J.R. would laugh
20·   fulfillment center?                                     20·   and push on him.· They'd just laugh and giggle and
21·   A· · · ·Yes.                                            21·   go on.
22·   Q· · · ·Did you ever witness Mr. Whited kick            22·   Q· · · ·Did you think that was appropriate for him
23·   employees of WestRock?                                  23·   to be going around slapping other male employees in
24·   A· · · ·No.                                             24·   the workplace?
25·   Q· · · ·What about hit them with a broom?               25·   A· · · ·When I objected to it, he stopped with me.
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·1·   A· · · ·No.                                             ·1·   They were all laughing like it was a big joke to
·2·   Q· · · ·What about hit them with his hand?              ·2·   them, so I didn't -- it was like they were playing.
·3·   A· · · ·Yes.                                            ·3·   Q· · · ·And Terry and J.R., they weren't managers
·4·   Q· · · ·Tell me about that.                             ·4·   like you were, were they?
·5·   A· · · ·I've seen him, I don't know what it is, but     ·5·   A· · · ·No.
·6·   he'd want to slap people in the groin area.             ·6·   Q· · · ·And Michael Kulakowski, tell me about that
·7·   Q· · · ·Okay.· Men?                                     ·7·   one.
·8·   A· · · ·Yes.                                            ·8·   A· · · ·Michael, I seen him flick his hand at
·9·   Q· · · ·You didn't see him do that to the women         ·9·   Michael, Michael would laugh and roll around and
10·   employees, did you?                                     10·   joke and cut up.
11·   A· · · ·Not that, no.                                   11·   Q· · · ·How many times did you see that happen?
12·   Q· · · ·Okay.· Which male employees did you see         12·   A· · · ·Two, maybe three.
13·   Mr. Whited slap in the groin area?                      13·   Q· · · ·And at that time Michael Kulakowski was not
14·   A· · · ·Terry Stafford, me once, Kulakowski.            14·   in management, was he?
15·   Q· · · ·Anyone else?                                    15·   A· · · ·No.
16·   A· · · ·Yeah.· I'm just trying to think.· I don't       16·   Q· · · ·When you saw him do that to these other
17·   know -- I know I seen him do it another couple, I       17·   employees, did you report it to HR?
18·   don't remember who.· J.R. Sanders is one.               18·   A· · · ·No.
19·   Q· · · ·What did you do when he did that to you?        19·   Q· · · ·Why not?
20·   A· · · ·We were standing side by side.· I bent over,    20·   A· · · ·Because they were laughing like they were
21·   actually I extended my arm, contacted his shoulder,     21·   all -- like it was a joke between them.
22·   knocking him over against the copier, told him to       22·   Q· · · ·Did you ever pull them aside and ask them if
23·   never touch me again.                                   23·   they found it offensive or tell them they could call
24·   Q· · · ·Did he leave you alone after that?              24·   HR if they didn't like that?
25·   A· · · ·Yes.                                            25·   A· · · ·No, I didn't.


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·1·   Q· · · ·Did you see Mr. Whited physically touch any     ·1·   your subordinate employees as plant manager?
·2·   other male employees?                                   ·2·   A· · · ·No.
·3·   A· · · ·I can't -- I can't recall any, but it's been    ·3·   Q· · · ·And you would agree that's not good
·4·   a long time, too.                                       ·4·   behavior?
·5·   Q· · · ·Did any employees come to you and talk to       ·5·   A· · · ·Yes.
·6·   you about it?                                           ·6·   Q· · · ·And that violates WestRock policy if you
·7·   A· · · ·No.                                             ·7·   were to do any of those things?
·8·   Q· · · ·Do you recall Mr. Kulakowski coming and         ·8·   A· · · ·Yes.
·9·   telling you about Tommy doing things to him?            ·9·   Q· · · ·Would you agree that the way Mr. Whited
10·   A· · · ·Kuli?                                           10·   slapped you in your groin area was a violation of
11·   Q· · · ·Yes.                                            11·   white rock policies?· Not white rock.· WestRock
12·   A· · · ·No.                                             12·   policies.
13·   Q· · · ·No, you don't recall, or no, it didn't          13·   A· · · ·I didn't view it at that time that way.
14·   happen?                                                 14·   Q· · · ·Do you view it differently now?
15·   A· · · ·No, I don't recall.                             15·   A· · · ·Yes.
16·   Q· · · ·Now, did any employees come to you and          16·   Q· · · ·And you wouldn't do that to people who
17·   complain about anything like that about Mr. Whited's    17·   worked under you as plant manager, would you?
18·   behaviors?                                              18·   A· · · ·No.
19·   A· · · ·No.                                             19·   Q· · · ·If you saw that behavior going on in the
20·   Q· · · ·Did you ever hear Mr. Whited tell a male        20·   workplace, would you report it to HR?
21·   employee to give him any kind of oral sex or hear       21·   A· · · ·Yes.
22·   about him showing them his private parts?               22·   Q· · · ·Even if employees were laughing about it?
23·   A· · · ·No.                                             23·   A· · · ·As of today, yes.
24·   Q· · · ·Or anything like that?· I'm kind of sort of     24·   Q· · · ·What do you mean, as of today?
25·   making the statements a little bit gentle, but did      25·   A· · · ·Since Tommy has left, I've been through a
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·1·   you ever hear about anything like that?                 ·1·   lot more HR training.· Used to be like a big joke,
·2·   A· · · ·I did not, no.                                  ·2·   horseplaying between the guys, if you have a bunch
·3·   Q· · · ·You did not?                                    ·3·   of guys together horseplaying.· But today I view it
·4·   A· · · ·No.                                             ·4·   differently.· I mean, just because I went up in
·5·   Q· · · ·Did anybody say anything to you --              ·5·   management another step and I do view -- and I look
·6·   A· · · ·No.                                             ·6·   at everything differently now.
·7·   Q· · · ·-- that he had done that before?                ·7·   Q· · · ·Right.· Do you understand that sometimes
·8·   A· · · ·No.                                             ·8·   people laugh even though they're -- they might be in
·9·   Q· · · ·Did you know that he had showed his penis to    ·9·   pain or might find it offensive?
10·   Michael Kulakowski before?                              10·   · · · · · · ·MS. DOHNER SMITH:· Objection.
11·   · · · · · · ·MS. DOHNER SMITH:· Objection.              11·   · · · · · · ·THE WITNESS:· Yeah.· I guess so. I
12·   BY MS. COLLINS:                                         12·   personally don't, so it's hard for me to answer.
13·   Q· · · ·You can answer.                                 13·   BY MS. COLLINS:
14·   A· · · ·No.                                             14·   Q· · · ·Right.· Because sometimes an employee might
15·   Q· · · ·Did he ever do that to you?                     15·   not want to get in trouble if they don't go along
16·   A· · · ·No.                                             16·   with what their boss is doing, right?
17·   Q· · · ·Since you've been general manager, have you     17·   · · · · · · ·MS. DOHNER SMITH:· Objection.
18·   hit or slapped any of your employees?                   18·   · · · · · · ·THE WITNESS:· Yeah.· Yes.
19·   · · · · · · ·MS. DOHNER SMITH:· Objection.              19·   BY MS. COLLINS:
20·   BY MS. COLLINS:                                         20·   Q· · · ·Were -- when Mr. Whited was out there, did
21·   Q· · · ·Or subordinates?                                21·   you get the sense that other employees were kind of
22·   A· · · ·I'm not general manager.                        22·   afraid of him?
23·   Q· · · ·Plant manager.· Sorry.                          23·   A· · · ·Yes.
24·   A· · · ·No.                                             24·   Q· · · ·Why did you get that sense?
25·   Q· · · ·Have you showed your private parts to any of    25·   A· · · ·Because he's had meetings where he said --


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·1·   he's very quick to use the fire word.· In a meeting     ·1·   terminated?
·2·   for just a small something, what we felt was small,     ·2·   A· · · ·No.
·3·   you know, he'd just fire you.                           ·3·   Q· · · ·After his termination, I understand there
·4·   Q· · · ·So he would threaten employees' jobs a lot?     ·4·   was security brought in out at the fulfillment
·5·   · · · · · · ·MS. DOHNER SMITH:· Objection.              ·5·   center.
·6·   · · · · · · ·THE WITNESS:· A lot, no, but               ·6·   A· · · ·Yes.
·7·   occasionally, yes.                                      ·7·   Q· · · ·What do you know about that?
·8·   BY MS. COLLINS:                                         ·8·   A· · · ·They got security to come in.· I'm not real
·9·   Q· · · ·Was he -- was Mr. Whited someone that you       ·9·   sure why on that one.
10·   would characterize as a person that appreciated         10·   Q· · · ·Okay.· Do you know if there was concern
11·   constructive criticism?                                 11·   about him, Mr. Whited, harming people?
12·   A· · · ·No.                                             12·   · · · · · · ·MS. DOHNER SMITH:· Objection.
13·   Q· · · ·Was it kind of his way or the highway?          13·   · · · · · · ·THE WITNESS:· I assumed.· I knew
14·   A· · · ·In public, yes.                                 14·   nothing.· I didn't know anything.· I didn't talk to
15·   Q· · · ·Was it different in private?                    15·   anybody.
16·   A· · · ·I could go talk to him and -- it's like you     16·   BY MS. COLLINS:
17·   were questioning his authority if you did it in         17·   Q· · · ·Did you hear anything about people being
18·   public.· In public, it would question his authority.    18·   worried about him hurting people?
19·   If you went to ask him to see him in his office or      19·   A· · · ·Rephrase that.· Say that again.
20·   somewhere, he'd usually change his mind or look at      20·   Q· · · ·Did you hear anything about other people
21·   it in a different way.                                  21·   being worried that he might do something?
22·   Q· · · ·Okay.· Did you know about the investigation     22·   A· · · ·I heard that, yes, from other employees.
23·   that WestRock conducted about Mr. Whited?               23·   Q· · · ·Who did you hear it from?
24·   A· · · ·I knew they were -- HR was there                24·   A· · · ·Again, it's hearsay.· It was just another
25·   interviewing a lot of people.                           25·   employee was talking that that must be what he's
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·1·   Q· · · ·Okay.· Were you interviewed?                 ·1· here for, he's afraid.
·2·   A· · · ·Yes.                                         ·2· Q· · · ·Who was the other employee?
·3·   Q· · · ·Okay.· Who interviewed you?                  ·3· A· · · ·I honestly don't remember.
·4·   A· · · ·Terri Henley and Melinda McGraw.· Terri      ·4· Q· · · ·Okay.
·5·   Henley with Melinda McGraw.                          ·5· A· · · ·It was just...
·6·   Q· · · ·Okay.· Do you recall what you told them?     ·6· Q· · · ·Do you think Mr. Whited would be capable of
·7·   A· · · ·No, not exactly.                             ·7· harming other people?
·8·   Q· · · ·Did you talk to Tom Pedine?                  ·8· A· · · ·No.
·9·   A· · · ·About?                                       ·9· Q· · · ·When he was the manager out there, did you
10·   Q· · · ·Mr. Whited.                                  10· ever hear him threaten other employees other than
11·   A· · · ·No.                                          11· threatening to fire them?
12·   Q· · · ·Do you recall telling HR, Ms. Henley and     12· A· · · ·Don't recall that, no.
13·   Ms. McGraw, that you were afraid to ask for a        13· Q· · · ·Okay.· Do you know who made the initial
14·   vacation for yourself or others or anything like     14· complaint against Mr. Whited that led to his
15·   that?                                                15· termination?
16·   A· · · ·Afraid, no.                                  16· A· · · ·It was through -- my understanding, it was
17·   Q· · · ·What do you know about Mr. Whited's          17· through an exit interview with Johanna Crowder.
18·   termination?                                         18· Q· · · ·And she left WestRock, right?
19·   A· · · ·All I was told was that it was because of    19· A· · · ·Yes.· She is back, but yes.
20·   code of conduct.· They never -- I never really got a 20· Q· · · ·She's back now?
21·   lot of explanation.                                  21· A· · · ·(Witness moves head up and down.)
22·   Q· · · ·Have you ever talked with Mr. Whited about   22· Q· · · ·She came back after Mr. Whited left?
23·   his termination?                                     23· A· · · ·Yes.
24·   A· · · ·No.                                          24· Q· · · ·Is she at the Gallatin facility again?
25·   Q· · · ·Have you talked with him since he's been     25· A· · · ·Yes.


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·1·   Q· · · ·The fulfillment center or the plant?            ·1·   Q· · · ·Did you ever hear Tommy Whited say that all
·2·   A· · · ·Sheet plant.                                    ·2·   supervisors reported to him or anything like that?
·3·   Q· · · ·Now that you're general manager, do you get     ·3·   A· · · ·All supervisors reported to him?· I mean, he
·4·   notice of hotline complaints?                           ·4·   made comment the whole plant reported to him. I
·5·   · · · · · · ·MS. DOHNER SMITH:· Objection.              ·5·   don't know if he ever specified supervisors.
·6·   · · · · · · ·THE WITNESS:· I'm plant manager, but --    ·6·   Q· · · ·Do you know if employees, when he was the
·7·   BY MS. COLLINS:                                         ·7·   manager out there at the Gallatin fulfillment --
·8·   Q· · · ·Plant manager, I'm sorry.· I keep getting       ·8·   well, at the Gallatin plants, were afraid to make
·9·   those two confused.                                     ·9·   complaints or reports because of the way he managed
10·   A· · · ·I have got -- I've been interviewed because     10·   things?
11·   of hotline complaints, yes.                             11·   A· · · ·Yes, I do feel that.
12·   Q· · · ·What do you mean?                               12·   Q· · · ·And some employees told you they were afraid
13·   A· · · ·They call, HR calls, and set up either a        13·   of him?
14·   phone interview or they come and visit and              14·   · · · · · · ·MS. DOHNER SMITH:· Objection.
15·   interview.                                              15·   · · · · · · ·THE WITNESS:· They were afraid for
16·   Q· · · ·And what are they -- like what sort of          16·   their job.
17·   complaints are they?                                    17·   BY MS. COLLINS:
18·   A· · · ·One, I demoted a person and she complained      18·   Q· · · ·Do you feel like working out at the WestRock
19·   to HR.                                                  19·   Gallatin plants has become better since Mr. Whited
20·   Q· · · ·And this was after you got promoted to plant    20·   left?
21·   manager?                                                21·   A· · · ·Yes.· I'd be sort of silly not to think
22·   A· · · ·Yes.                                            22·   that, but yes.
23·   Q· · · ·Okay.· Who was that?                            23·   Q· · · ·Is it less stressful, you feel like?
24·   A· · · ·Terri Niemann.                                  24·   A· · · ·Yes.
25·   Q· · · ·Anybody else?                                   25·   Q· · · ·Have you been hit in the groin since he got
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·1·   A· · · ·There's been some other calls.· I've been       ·1·   fired?
·2·   interviewed for a couple of reasons, but I don't        ·2·   · · · · · · ·MS. DOHNER SMITH:· Objection.
·3·   know who the person was.                                ·3·   · · · · · · ·THE WITNESS:· No.
·4·   Q· · · ·Okay.· So, would they show you the hotline      ·4·   BY MS. COLLINS:
·5·   complaint that was made against you?                    ·5·   Q· · · ·Have you heard of any other male employees
·6·   A· · · ·No.                                             ·6·   being hit in the groin since he got fired?
·7·   Q· · · ·Would they just tell you about it?              ·7·   A· · · ·No.
·8·   A· · · ·They would go over parts of it, ask me          ·8·   Q· · · ·Do you feel like when Mr. Whited was manager
·9·   questions about it.                                     ·9·   out there that he was fair?
10·   Q· · · ·Have you ever made a hotline complaint?         10·   A· · · ·Say that one more time.
11·   A· · · ·No.                                             11·   Q· · · ·Do you feel like when Mr. Whited worked out
12·   Q· · · ·Did you ever hear of Tommy Whited               12·   there, when he was manager out at the Gallatin
13·   discouraging people from making hotline complaints?     13·   plants, that he was a fair manager?
14·   A· · · ·Discourage, no.                                 14·   A· · · ·No.
15·   Q· · · ·Did you ever hear him tell employees that       15·   Q· · · ·Why do you say that?
16·   they would just -- complaints would come to him         16·   A· · · ·Because personally, I was overlooked four to
17·   anyway?                                                 17·   five times.
18·   A· · · ·Yes.                                            18·   Q· · · ·For promotion?
19·   Q· · · ·Okay.· Tell me a little bit more about that.    19·   A· · · ·Yes.
20·   A· · · ·I was just -- I heard him say it one day,       20·   Q· · · ·Do you feel like he put in other people that
21·   just a few of us sitting around.                        21·   were less qualified?
22·   Q· · · ·If an employee made a complaint to the          22·   A· · · ·Yes.
23·   hotline, he would get it anyway?                        23·   Q· · · ·Why do you think he did that?
24·   A· · · ·Yeah.· He said they would come to him with      24·   A· · · ·Friendship.
25·   it, is what he said.                                    25·   Q· · · ·So, is it basically if you were on his good


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·1·   side, you could get promoted, but if you were just      ·1·   A· · · ·There was some that bought cars there.· Me
·2·   someone who came in and did your work and weren't on    ·2·   being one of them.
·3·   his good side, maybe you had less chance of getting     ·3·   Q· · · ·Okay.· When was the last time you bought a
·4·   promoted?                                               ·4·   car from him?
·5·   · · · · · · ·MS. DOHNER SMITH:· Objection.              ·5·   A· · · ·2010.
·6·   · · · · · · ·THE WITNESS:· That was a long question.    ·6·   Q· · · ·I guess you don't owe any money on that car
·7·   BY MS. COLLINS:                                         ·7·   anymore?
·8·   Q· · · ·He played favorites?                            ·8·   A· · · ·No.· I paid for it the day I got it.
·9·   A· · · ·Yes.                                            ·9·   Q· · · ·Okay, long time ago.
10·   Q· · · ·Okay.· Did you notice any sort of pattern as    10·   · · · · Did you have any sort of impression as to
11·   to why he played favorites?                             11·   whether that caused a problem or conflict with any
12·   A· · · ·Yes.                                            12·   of the other employees that were his subordinates?
13·   Q· · · ·Tell me about that.· Tell me why you think      13·   A· · · ·Not that I'm aware of.
14·   that.                                                   14·   Q· · · ·Okay.· Did -- after Mr. Whited was
15·   A· · · ·He was actually afraid for his job, is my --    15·   terminated, did you have any discussions with
16·   what I think.· Because like me, I think he was          16·   Michael Kulakowski about his overtime getting cut
17·   afraid for me to get into that spotlight, that it       17·   back?
18·   would be easier for me to take his job, if that         18·   A· · · ·Yes.
19·   makes sense.                                            19·   Q· · · ·Okay.· Tell me about that.
20·   Q· · · ·Yeah.· Because, you know, sounds like you       20·   A· · · ·Overtime was cut back because we were
21·   took your job seriously and worked hard.                21·   cutting overtime back in the whole plant.
22·   A· · · ·My integrity and respect is all I have in       22·   Q· · · ·Okay.· What would you say is Michael
23·   life, so yes.                                           23·   Kulakowski's job title now?
24·   Q· · · ·Right.· And so, you didn't mess around with     24·   A· · · ·Clerk.
25·   company politics.· You just wanted to come in and do    25·   Q· · · ·Has it always been a clerk?
                                                    Page 39                                                       Page 41
·1·   good work and you figured that should speak for         ·1·   A· · · ·For a long time, basically.
·2·   itself?                                                 ·2·   Q· · · ·Okay.· A clerk in what department?
·3·   A· · · ·Yes.· If I hit the numbers, do the right        ·3·   A· · · ·Shipping and receiving.
·4·   things, that should be what gets me where I want to     ·4·   Q· · · ·Does he have a formal job title?
·5·   go.                                                     ·5·   A· · · ·Well, it says forklift driver on his -- but
·6·   Q· · · ·So it sounds like he would kind of put yes      ·6·   he's just been a clerk for a long time.
·7·   men in jobs --                                          ·7·   Q· · · ·So, he primarily handles paperwork in the
·8·   · · · · · · ·MS. DOHNER SMITH:· Objection.              ·8·   shipping and receiving department?
·9·   BY MS. COLLINS:                                         ·9·   A· · · ·Yes.· Receiving the paperwork, giving the
10·   Q· · · ·-- that would be more loyal to him as           10·   paperwork to the truck drivers.
11·   opposed to being loyal to the company.                  11·   Q· · · ·Okay.
12·   A· · · ·Yes.                                            12·   · · · · · · ·THE WITNESS:· Can I have five?
13·   Q· · · ·Have you ever had any contact with the EEOC     13·   · · · · · · ·MS. COLLINS:· Absolutely, yes.
14·   about Michael Kulakowski?                               14·   · · · · · · ·(Recess observed.)
15·   A· · · ·What is the EEOC?                               15·   BY MS. COLLINS:
16·   Q· · · ·I guess your answer would be no.                16·   Q· · · ·Now, Mr. Hall, after -- well, before
17·   A· · · ·Yes.                                            17·   Mr. Whited was terminated, did he call you and ask
18·   Q· · · ·That's fine.                                    18·   you, you know, what's going on when HR came out
19·   · · · · I understand that Mr. Whited had some kind      19·   there and started investigating things?
20·   of little side businesses selling cars or things.       20·   A· · · ·He called me the Saturday night before he
21·   Have you heard anything about that?                     21·   was terminated on Monday.
22·   A· · · ·Yes.· Tommy owns a car lot, partners in a       22·   Q· · · ·Okay.· Tell me about that.
23·   car lot.                                                23·   A· · · ·He called wanting to know do I know who all
24·   Q· · · ·Would he sell cars to employees over at         24·   HR had talked to.· I told him no.
25·   WestRock?                                               25·   Q· · · ·Did you know?


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·1·   A· · · ·Did I know?· No.                                ·1·   recorded, or was there anything in addition to this
·2·   Q· · · ·Okay.· What else did he ask you?                ·2·   other than what you've already testified that you
·3·   A· · · ·He went into that he'd find out, that he had    ·3·   can talk about?
·4·   a list now of who all it was.· He knew who was          ·4·   A· · · ·Yeah, it looks pretty close.
·5·   all -- who all was there, who all went in, who all      ·5·   Q· · · ·Okay.· So you had talked with him on a
·6·   had interviewed with them, how long -- he asked me      ·6·   Thursday night and then the Saturday conversations
·7·   did I know how long it had been going on, and I told    ·7·   that you just mentioned, right?
·8·   him like three weeks, because I referred to the day     ·8·   A· · · ·Yes.· The Thursday night -- yeah.· I forgot
·9·   that Johanna left, or the days before Johanna left.     ·9·   that conversation took place.
10·   I told him the date that I first knew of HR being       10·   Q· · · ·Okay.· It looks like, based on her notes,
11·   there.· That was pretty much the conversation we had    11·   that you had told her that Mr. Whited had asked you
12·   that night.                                             12·   questions -- had said that HR had been asked
13·   Q· · · ·Did you have any other conversations            13·   questions about horseplay with other employees.
14·   about -- before he was terminated about the HR          14·   Does that refresh your recollection about that?
15·   investigation that you can recall?                      15·   A· · · ·I don't remember the horseplay.· It may have
16·   A· · · ·That Saturday morning he asked me -- they       16·   been.· That's been 14 months ago, whatever it was.
17·   talked to him on Thursday or Friday, HR did.· On        17·   Q· · · ·Sure.
18·   Saturday morning he come got me at work, we went and    18·   A· · · ·I do know about the eating lunch and
19·   had breakfast.· He went over a few things with me,      19·   breakfast with Susan, lunch and breakfast with
20·   told me he was going to retire first of the year,       20·   Susan.· I do not remember the horseplay, but I don't
21·   partially because of the HR investigation and he was    21·   doubt it either.
22·   getting old.· Then he called me back Saturday night.    22·   Q· · · ·Was he having an affair with Susan?
23·   That's when he wanted to know who all.                  23·   A· · · ·Not that I know of.
24·   Q· · · ·Okay.· Did he tell you that he had been         24·   Q· · · ·Had you heard that he was?
25·   asked questions about horseplay with employees?         25·   A· · · ·Small town rumors.
                                                    Page 43                                                       Page 45
·1·   A· · · ·He went into no details about what they had     ·1·   Q· · · ·Right.· Is that why Susan got moved back to
·2·   talked to him about.                                    ·2·   the sheet plant?
·3·   · · · · · · ·MS. COLLINS:· Okay.· I'm going to mark     ·3·   A· · · ·No.
·4·   this next document as Exhibit 14.                       ·4·   Q· · · ·Okay.
·5·   · · · · · · ·(Marked Exhibit No. 14.)                   ·5·   · · · · · · ·MS. DOHNER SMITH:· If we're going to
·6·   BY MS. COLLINS:                                         ·6·   enter this, I just don't know that anything on
·7·   Q· · · ·I'm going to give you just a moment to          ·7·   Page 2 actually relates to him.· It appears to be an
·8·   review this document, Mr. Hall.· Let me know when       ·8·   interview with somebody else other than him.· So can
·9·   you're ready.                                           ·9·   we --
10·   A· · · ·(Reviewing document.)                           10·   · · · · · · ·MS. COLLINS:· I'm going to ask
11·   Q· · · ·For this, I'm really just focusing on the       11·   everybody else about it.· I put it all together
12·   first page.                                             12·   because it's on the same date.
13·   · · · · · · ·MS. DOHNER SMITH:· I think the second      13·   · · · · · · ·MS. DOHNER SMITH:· Okay.· Then, I'm
14·   page deals with somebody else.                          14·   fine with it going ahead and being entered.· I'm
15·   · · · · · · ·MS. COLLINS:· Right.· It's kind of a       15·   just going to object to the fact that he can't
16·   composite exhibit.· I just want him to look at the      16·   authenticate it or speak about it because it doesn't
17·   first page.                                             17·   relate to him.
18·   BY MS. COLLINS:                                         18·   · · · · · · ·MS. COLLINS:· Okay.
19·   Q· · · ·Have you had a chance to review this, just      19·   BY MS. COLLINS:
20·   the first page?                                         20·   Q· · · ·That time that Mr. Whited hit you in the
21·   A· · · ·Yes.                                            21·   groin, did you tell Larry Eden about it, or was he
22·   Q· · · ·Now, looks like Ms. Henley sort of recorded     22·   present?
23·   discussions that she had with you.                      23·   A· · · ·I don't remember telling Larry, no.
24·   A· · · ·Yes.                                            24·   Q· · · ·When was the last time you've talked with
25·   Q· · · ·Does this look accurate, her -- what she        25·   Michael Kulakowski?


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·1·   A· · · ·Last time I talked to him was -- he went out    ·1·   2006?
·2·   for his back.· Like two days before that.               ·2·   A· · · ·Twelve.
·3·   Q· · · ·Okay.· Since he made these -- you knew he       ·3·   · · · · · · ·MS. COLLINS:· 2006?
·4·   made complaints against Mr. Whited, right?              ·4·   BY MS. DOHNER SMITH:
·5·   A· · · ·Yes.                                            ·5·   Q· · · ·I'm sorry.· 2016.
·6·   · · · · · · ·MS. DOHNER SMITH:· Objection.              ·6·   A· · · ·That's what I took it as, '16.
·7·   BY MS. COLLINS:                                         ·7·   Q· · · ·So there were about 12 WestRock employees in
·8·   Q· · · ·Since he made those complaints, have you        ·8·   2016?
·9·   tried to avoid Mr. Kulakowski or not talk to him?       ·9·   A· · · ·That's close.
10·   A· · · ·No, ma'am.                                      10·   Q· · · ·What about WestRock employees at the sheet
11·   Q· · · ·What is Mike White's job title again?           11·   plant?· How many now and how many in 2016?
12·   A· · · ·Operations manager is what his title is.        12·   A· · · ·Close to 30.
13·   Q· · · ·At the fulfillment center?                      13·   Q· · · ·Okay.· Now, temp agency, they have somebody
14·   A· · · ·Yes.                                            14·   on site that handles issues with their -- with the
15·   Q· · · ·Is that a recent promotion or has he been in    15·   temporary employees, right?
16·   a job for a while?                                      16·   A· · · ·Yes.
17·   A· · · ·He's had that job for several years.            17·   Q· · · ·And that was the case in 2016 as well?
18·   Q· · · ·Is he -- based on your knowledge, is he         18·   A· · · ·Yes.
19·   pretty close or good friends with Mr. Whited?           19·   Q· · · ·Earlier you were asked about seeing people
20·   A· · · ·No.                                             20·   slap people in the groin and you kind of made a hand
21·   Q· · · ·No, you don't know, or no, he isn't?            21·   gesture.· Could you explain what you mean by Tommy
22·   A· · · ·I've never seen it.                             22·   hit you in the groin or what you saw him do with
23·   Q· · · ·So not that you know of?                        23·   others?· Because it's hard to get down -- you can't
24·   A· · · ·No.                                             24·   get down on the record physical movement in the
25·   · · · · · · ·MS. COLLINS:· Okay.· That's all I have.    25·   room.· Can you try to voice --
                                                    Page 47                                                       Page 49
·1·   · · · · · · ·MS. DOHNER SMITH:· Just a couple of        ·1·   A· · · ·He was -- it was open hand, backhand, just
·2·   things.                                                 ·2·   flick his fingertips to hit you in -- men in the
·3·   · · · · · · · · E X A M I N A T I O N                   ·3·   groin.
·4·   BY MS. DOHNER SMITH:                                    ·4·   Q· · · ·Okay.
·5·   Q· · · ·A while back you were asked about the           ·5·   A· · · ·Which if you're a man is very painful.
·6·   interim general manager, Eric Underwood.                ·6·   Q· · · ·I can imagine.· And even a small flick could
·7·   A· · · ·Yes.                                            ·7·   cause some pain?
·8·   Q· · · ·Is he the general manager at Humboldt, at       ·8·   A· · · ·Yeah.
·9·   that facility?                                          ·9·   Q· · · ·It wasn't like he was taking his whole hand
10·   A· · · ·Eric is actually the regional sales manager.    10·   across his body and using force?
11·   Q· · · ·Okay.· So, when he was acting as the interim    11·   A· · · ·No.· Just flicking his wrist.
12·   general manager, was he doing his own duties and        12·   Q· · · ·Okay.· Earlier you had indicated that you
13·   filling in?                                             13·   didn't recall Mr. Kulakowski coming to you and
14·   A· · · ·Yes.                                            14·   talking about any of this.· If Mr. Kulakowski had
15·   Q· · · ·Okay.· The presentation of results regarding    15·   come to you and said Tommy was doing this, it
16·   the survey that HR puts together, does that include     16·   bothered him, he wanted him to stop, would you have
17·   the names of any individuals reporting on the           17·   taken some action?
18·   survey?                                                 18·   A· · · ·Yes.
19·   A· · · ·No.                                             19·   Q· · · ·What action would you have taken?
20·   Q· · · ·You said that at the fulfillment center         20·   · · · · · · ·MS. COLLINS:· Objection to form.
21·   there were around 65 employees with temps and all.      21·   · · · · · · ·You can answer.
22·   How many actual WestRock employees are at the           22·   BY MS. DOHNER SMITH:
23·   fulfillment center?                                     23·   Q· · · ·Would you have helped him out?
24·   A· · · ·Currently, around 25.                           24·   A· · · ·Yes.· I would have actually -- I would have
25·   Q· · · ·Okay.· Do you know how many it was in like      25·   confronted Tommy.· I would have confronted Tommy


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·1·   with the problem.                                       ·1·   that's it.
·2·   Q· · · ·Okay.· Earlier you indicated you assumed        ·2·   · · · · · · ·MS. COLLINS:· That's all I have.
·3·   that the reason WestRock had security was because of    ·3·   · · · · · · ·FURTHER DEPONENT SAITH NOT.
·4·   concern about Tommy Whited hurting people.· Did         ·4·   · · · · · · ·(Proceedings concluded at 11:00 a.m.)
·5·   anybody in upper management tell you that's why         ·5
·6·   security was brought in?                                ·6
·7·   A· · · ·No.                                             ·7
·8·   Q· · · ·Did anybody in HR tell you that's why           ·8
·9·   security --                                             ·9
10·   A· · · ·No.                                             10
11·   Q· · · ·-- was brought in?                              11
12·   A· · · ·(Witness moves head side to side.)              12
13·   Q· · · ·You were asked about receiving notice of        13
14·   hotline complaints.· Do you know where the hotline      14
15·   complaints actually go?                                 15
16·   A· · · ·Where they go?                                  16
17·   Q· · · ·Yes.                                            17
18·   A· · · ·No.                                             18
19·   Q· · · ·Okay.· So, if somebody calls the hotline, it    19
20·   doesn't come to the Gallatin --                         20
21·   A· · · ·No.                                             21
22·   Q· · · ·Either Gallatin facility?                       22
23·   A· · · ·No.                                             23
24·   Q· · · ·And getting notice of the hotline complaint,    24
25·   that doesn't mean somebody calls and says, hey,         25
                                                    Page 51                                                           Page 53
·1·   so-and-so complained about you?                         ·1· · · · · · · · ·REPORTER'S CERTIFICATE

·2·   A· · · ·No.· There's never any names.                   ·2

·3·   Q· · · ·If you're involved in the investigation,        ·3· · · · · · · ·I, Jerri L. Porter, RPR, CRR, Notary
                                                              ·4· Public and Court Reporter, do hereby certify that I
·4·   you're just made aware that a complaint has been
                                                              ·5· recorded to the best of my skill and ability by
·5·   filed and you're being interviewed?
                                                              ·6· machine shorthand all the proceedings in the
·6·   A· · · ·Yes.
                                                              ·7· foregoing transcript, and that said transcript is a
·7·   Q· · · ·Okay.· Earlier you were asked about Tommy
                                                              ·8· true, accurate, and complete transcript to the best
·8·   Whited saying all supervisors report to him.· As the
                                                              ·9· of my ability.
·9·   general manager of the two facilities, technically
                                                              10· · · · · · · ·I further certify that I am not an
10·   all supervisors report up to him in the chain of
                                                              11· attorney or counsel of any of the parties, nor a
11·   command, correct?
                                                              12· relative or employee of any attorney or counsel
12·   A· · · ·Yes.                                            13· connected with the action, nor financially
13·   Q· · · ·You were asked since all of this came up        14· interested in the action.
14·   with Mr. Whited if you have tried to avoid              15· · · · · · · ·SIGNED this 26th day of November, 2017.
15·   Mr. Kulakowski.· Isn't the opposite true?· Haven't      16
16·   you kind of gone out of your way to make sure he        17
17·   feels supported and has what he needs to do his job?    18
18·   A· · · ·Yes.· I've had a lot of coaching sessions       19
19·   with Mr. Kulakowski.                                    20· · · · · · · ·____________________________________
20·   Q· · · ·Okay.· And you actually moved your office       21· · · · · · · · · · Jerri L. Porter, RPR, CRR
21·   out there to be close to him so that he would know      22· My Notary commission expires:· 2/19/2018
22·   you're there to help him out?                           23· Tennessee LCR No. 335
23·   A· · · ·Next door.· We had daily sessions for a         · · Expires:· 6/30/2018
24·   while, trying to help him perform better.               24

25·   · · · · · · ·MS. DOHNER SMITH:· Okay.· I think          25



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·1· · · · · · · · · · · ·E R R A T A
·2
·3· · · ·I, JAMES KEITH HALL, having read the
· · foregoing deposition, Pages 1 through 52, taken
·4· November 15, 2017, do hereby certify said
· · testimony is a true and accurate transcript,
·5· with the following changes, if any:
·6· PAGE· · LINE· · · SHOULD HAVE BEEN
·7· _____· ·_____· · ·______________________________
·8· _____· ·_____· · ·______________________________
·9· _____· ·_____· · ·______________________________
10· _____· ·_____· · ·______________________________
11· _____· ·_____· · ·______________________________
12· _____· ·_____· · ·______________________________
13· _____· ·_____· · ·______________________________
14· _____· ·_____· · ·______________________________
15· _____· ·_____· · ·______________________________
16· _____· ·_____· · ·______________________________
17
18· · · · · · ·______________________________
19· · · · · · · · · · JAMES KEITH HALL
20
21
22· ____________________________
· · · · · Notary Public
23· My commission expires:· _____________
24
25




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